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           IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
                               OF COLORADO

      CIVIL ACTION NO.: 1:19-cv-00328-JLK

      Michael
      Abbondanza, Tavin
      Foods, Inc.
                    Plaintiffs,
      v.

      Jason Weiss,
      Weiss Law Group,
      PC, Brett Huff,
      Richard Leslie,
      Huff and Leslie,
      LLP, Peter Leiner,
      Giovania Paloni,
                       Defendants.

              RESPONSE TO DEFENDANTS’ MOTION FOR PROTECTIVE
                                 ORDER

          Plaintiffs, Michael Abbondanza and Tavin Foods, Inc. (together, “Plaintiffs”) hereby

  respond to the Motion for Protective Order (the “Motion”) filed by Defendants Jason Weiss,

  Weiss Law Group, P.A., and Peter Leiner (together the “Weiss Defendants”).

                                        INTRODUCTION

          In paragraph 3 of the Motion, the Weiss Defendants state that they are “mindful of the

  Court’s Practice Standards.” However, the Motion does not comply in form or spirit with this

  Court’s Practice Standards and for that reason alone, must be denied. Further, the information

  that the Weiss Defendants seek to identify as “attorneys eyes only” is not the sort of information

  that is afforded that level of protection by the Federal Rules, and the Weiss Defendants have not

  shown justification in their Motion as to why it should be extended here. Accordingly, for that
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  additional reason, the Motion must be denied.

              THE MOTION DOES NOT COMPLY WITH THIS COURT’S PRACTICE
                                STANDARDS

          With respect to protective orders, this Court requires that parties use its “form

  Stipulation and Protective Order” (the “Form Protective Order”).        Per the Court’s precise

  instructions, a party’s failure to use the Form Protective Order must be based on “good cause.”

  Here, the Motion requests that the Court “enter a tailored Protective Order” (the “Proposed

  Order”) without showing good cause as to why the Weiss Defendants cannot simply use the

  Form Protective Order.

          Further, even if a party does not use the Form Protective Order, the Court requires that

  certain provisions from the Form Protective Order are included with any proposed protective

  order. The Motion and Proposed Order are deficient as to those provisions as follows:

              •   The Proposed Order does not address how the proposed confidential information

                  will be addressed in court filings; and

              •   The Motion does not justify the designation of the proposed confidential

                  information as “attorney’s eyes only.”

         The Weiss Defendants’ failure to comply with this Court’s Practice Standards and the

  Form Protective Order will create confusion, cause judicial waste and is without merit. For that

  reason, the Motion should be denied and the Weiss Defendants should be instructed to

  meaningfully confer with Plaintiffs to stipulate to a protective order that is compliant with the

  Form Protective Order.

            THE MOTION DOES NOT JUSTIFY THE HEIGHTENED CONFIDENTIAL
                                STANDARDS

         The Motion requests that the “unredacted exhibits to Mr. Bradley’s affidavit” be
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  designated as “attorneys’ eyes only.” The Weiss Defendants claim that such extreme protection

  is required “because of the publicity that Plaintiffs and their counsel have brought to this matter.”

  However, the Weiss Defendants do not explain how the protections from the Form Protective

  Order are insufficient to protect the purported confidential information. In particular, the Weiss

  Defendants make no attempt to explain why the purported confidential information must be

  restricted from Plaintiffs themselves. The Weiss Defendants have made no allegation that

  Plaintiffs have publicized this lawsuit in some improper or harassing manner, or have shown a

  willingness to disregard any Court order that certain information remain confidential. In general,

  and as this Court acknowledges in its Practice Standards, “restricted filings are disfavored.” The

  requested restrictions significantly limit Plaintiffs’ ability to see the issues that are at the very

  heart of the underlying law suit—namely whether the man who sued them is who he says he is,

  lives where he says he lives and is disabled in the manner that served as the basis for the lawsuit

  against them. Further, the designation “attorneys eyes only” is typically used for cases involving

  sensitive trade secret information in which a party’s proprietary information must be protected

  from the opposing party who is a direct competitor. See, Associationvoice, Inc. v. Athomenet,

  Inc., Civil Action No. 10-cv-00109-CMA-MEH, 2010 U.S. Dist. LEXIS 38476 (D. Colo. Mar.

  29, 2010). No such consideration exists here. Further, the Weiss Defendants fail to address

  whether Fed.R.Civ.P. 5.21 applies separately to the information it requests be designated as


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   Fed.R.Civ.P. 5.2 provides, in relevant part:
  (a) Redacted Filings. Unless the court orders otherwise, in an electronic or paper filing with the
  court that contains an individual’s social-security number, taxpayer-identification number, or
  birth date, the name of an individual known to be a minor, or a financial-account number, a party
  or nonparty making the filing may include only:
  (1) the last four digits of the social-security number and taxpayer-identification number;
  (2) the year of the individual’s birth;
  (3) the minor’s initials; and
  (4) the last four digits of the financial-account number.
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  “attorneys eyes only” or how that Rule will interact with their requested order.

         WHEREFORE, Plaintiffs request that this Court deny the Weiss Defendants’ Motion for

  Protective Order and instruct them to submit a proposed protective order in the form of the

  Court’s Stipulation and Protective Order which does not require the proposed confidential

  information to be designated “attorneys eyes only” and any other such relief as this Court deems

  appropriate.



         RESPECTFULLY submitted on this 7th day of August, 2019.

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of August 2019, I electronically filed the
  foregoing Response to Defendants Weiss, Leiner, and Weiss Law Group, P.C.’s Motion
  for Protective Order with the Clerk of Court using the CM/ECF service, which provided
  electronic service to the following:


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